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         In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                         No. 18-0511V
                                    Filed: October 18, 2019
                                        UNPUBLISHED


    VICTORIA DITSCHE,

                        Petitioner,                          Special Processing Unit (SPU);
    v.                                                       Ruling on Entitlement; Concession;
                                                             Table Injury; Influenza (Flu) Vaccine;
    SECRETARY OF HEALTH AND                                  Shoulder Injury Related to Vaccine
    HUMAN SERVICES,                                          Administration (SIRVA)

                        Respondent.


Amy A. Senerth, Muller Brazil, LLP, Dresher, PA, for petitioner.
Linda Sara Renzi, U.S. Department of Justice, Washington, DC, for respondent.

                               DECISION AWARDING DAMAGES1

Corcoran, Chief Special Master:

       On April 6, 2018, petitioner filed a petition for compensation under the National
Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.,2 (the “Vaccine
Act”). Petitioner alleges that she suffered a Shoulder Injury Related to Vaccine
Administration (“SIRVA”) as a result of an influenza (“flu”) vaccine administered on
November 23, 2016. Petition at 1. The case was assigned to the Special Processing
Unit of the Office of Special Masters.

       On April 29, 2019, a ruling on entitlement was issued, finding petitioner entitled to
compensation for SIRVA. On October 18, 2019, respondent filed a proffer on award of
compensation (“Proffer”) indicating petitioner should be awarded $64,183.12. Proffer at
1. In the Proffer, respondent represented that petitioner agrees with the proffered

1I intend to post this decision on the United States Court of Federal Claims' website. This means the
decision will be available to anyone with access to the internet. In accordance with Vaccine Rule
18(b), petitioner has 14 days to identify and move to redact medical or other information, the disclosure of
which would constitute an unwarranted invasion of privacy. If, upon review, I agree that the identified
material fits within this definition, I will redact such material from public access. Because this unpublished
decision contains a reasoned explanation for the action in this case, I am required to post it on the United
States Court of Federal Claims' website in accordance with the E-Government Act of 2002. 44 U.S.C.
§ 3501 note (2012) (Federal Management and Promotion of Electronic Government Services).

2National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C.
§ 300aa (2012).
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award. Id. Based on the record as a whole, I find that petitioner is entitled to an award
as stated in the Proffer.

       Pursuant to the terms stated in the attached Proffer, I award petitioner a lump
sum payment of $64,183.12 in the form of a check payable to petitioner,
Victoria Ditsche. This amount represents compensation for all damages that would be
available under § 15(a).

       The clerk of the court is directed to enter judgment in accordance with this
decision.3

IT IS SO ORDERED.


                                          s/Brian H. Corcoran
                                          Brian H. Corcoran
                                          Chief Special Master




3 Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.


                                                      2
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            IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                      OFFICE OF SPECIAL MASTERS

                                                     )
 VICTORIA DITSCHE,                                   )
                                                     )
                Petitioner,                          )
                                                     )    No. 18-511V
 v.                                                  )    Chief Special Master
                                                     )    Brian H. Corcoran
 SECRETARY OF HEALTH AND HUMAN                       )    ECF
 SERVICES,                                           )
                                                     )
                Respondent.                          )
                                                     )

         RESPONDENT’S PROFFER ON AWARD OF COMPENSATION

I.     Compensation for Vaccine Injury-Related Items

       On April 26, 2019, respondent filed a Rule 4 (c) Report conceding entitlement in

this case. On April 2, the Court issued a Ruling on Entitlement finding that petitioner was

entitled to vaccine compensation for her Shoulder Injury Related to Vaccine Administration

(“SIRVA”). Respondent proffers that based on the evidence of record, petitioner should

be awarded $64,183.12 (constituting $60,000.00 in pain and suffering, and $4,053.12 in

lost wages, and $130.00 in past unreimbursed expenses). This amount represents all

elements of compensation to which petitioner is entitled under 42 U.S.C. § 300aa-

15(a)(1); 15(a)(3)(A); and 15(a)(4). Petitioner agrees.
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II.    Form of the Award

       The parties recommend that the compensation provided to petitioner should be

made through a lump sum payment as described below, and request that the Chief Special

Master’s decision and the Court’s judgment award the following: 1

       A lump sum payment of $64,183.12, in the form of a check payable to
       petitioner, Victoria Ditsche. This amount accounts for all elements of
       compensation under 42 U.S.C. § 300aa-15(a) to which petitioner is
       entitled.

Petitioner is a competent adult. Evidence of guardianship is not required in this case.

                                                     Respectfully submitted,

                                                     JOSEPH H. HUNT
                                                     Assistant Attorney General

                                                     C. SALVATORE D’ALESSIO
                                                     Acting Director
                                                     Torts Branch, Civil Division

                                                     CATHARINE E. REEVES
                                                     Deputy Director
                                                     Torts Branch, Civil Division

                                                     GABRIELLE M. FIELDING
                                                     Assistant Director
                                                     Torts Branch, Civil Division

                                                     /s/ Linda S. Renzi
                                                     LINDA S. RENZI
                                                     Senior Trial Counsel
                                                     Torts Branch, Civil Division
                                                     U.S. Department of Justice
                                                     P.O. Box 146
                                                     Benjamin Franklin Station
                                                     Washington, D.C. 20044-0146
                                                     Tel.: (202) 616-4133
Dated: October 18, 2019

1
  Should petitioner die prior to entry of judgment, the parties reserve the right to move
the Court for appropriate relief. In particular, respondent would oppose any award for
future medical expenses, future lost earnings, and future pain and suffering.
